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                                    UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF NEW YORK


        PEARSON EDUCATION, INC., CENGAGE
        LEARNING, INC.; ELSEVIER INC.; MCGRAW-
        HILL GLOBAL EDUCATION HOLDINGS, LLC;                  Civil Action No. l:18-cv-7180-PGG
        PEARSON EDUCATION, INC., and BEDFORD,
        FREEMAN & WORTH PUBLISHING GROUP,
        LLC,
                                                                                  VSDCSDNY
                       Plaintiffs,                                                DOCUMENT
                                                                                  ELECTRONICALL y                       FILED
          V.                                                                     DOC#:
                                                                                                              1l-:--/-J-,.,.)"'<"--
                                                                                 DATEF;;IL;--;E;;;,D~:-,9::;-ht-,
       DOE l D/B/A ANYTHING YOU CAN IMAGINE:                                                                 "--.....;:;;;;---~-
       DOE 2 D/B/A BOOKSABILLIONS and                     .
       MOMMA'S MEDIA 'N MORE; DOE 3 D/B/A
       BOOKS WORM; INC. and SHELF BOOK; DOE 4
       D/B/A CLINGONBLING, GIFT_FAIR, and
       ONLINE rvrYSOLUTIONS; DOE 5 DIB/A
       CPMOM; DOE 6 D/B/A ERA-BOOKSTORE;
       DOE 7 D/B/A HIDDEN LAKE TREASURE and
       PUBLIX BOOKS LLC; DOE 8 D/B/A MURRAY
       MEDIA; DOE 9 D/B/A PRIME BOX UP; DOE 10
       D/B/A INFO A VENUE; DOE 11 D/B/A ZAGGIE;
       BORGASORUS BOOKS, INC.; FLIPPING
- - - PJ\BE-S-INE-:;-B-EN:fA-MfN-Bi\:R:RfrT-T-R•BER:'fS;·
       CAlvfERON WESLEY ROBERTS; SPENCER J.
       ROWLES; CARLA M. ROWLES; TIERNEY M.
       ROWLES; WESLEY ROWLES; CARLOS A.
       CORRASCO; ROBERT D. MEADOWS; and
       UNITYSTORE INC.,

                       Defendants.



                      STIPULATED PRELIMINARY INJUNCTION AS TO DEFENDANT
                                       UNITYSTORE INC.


                  Plaintiffs Pearson Education, Inc., Cengage Learning, Inc.,, Elsevier Inc., McGraw-Hill

           Global Education Holdings, LLC, and Bedford, Freeman & Worth Publishing Group, LLC

           (collectively, "Plaintiffs")and Defendant UnityStore Inc.("Defendant") having stipulated and

           agreed to entry of this Preliminary Injtmction (the "Injunction"), it is HEREBY ORDERED that:
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        1.      This Injunction replaces and supercedes the Temporary Restraining Order issued

on August 15, 2018 at ECF No. 3 C'TRO") as to Defendantdoing business on Amazon.com

asUnityStore (Amazon Seller ID: A3TD4XUH85K.81L)(the "Online Storefront").

        2.      Defendant, his officers, agents, servants, employees, and attorneys, and all those

in active concert or participation with any of them who receive actual notice of this Injunction,

are enjoined frot1i:

                a)     Directly or indirectly infringing any copyrighted work tl1at is owned or
                       exchlsively controlled by any of Plaintiffs ("Plaintiffs' Works"), i.e., any
                       copyrighted work published undet any of the imprints identified on
                       Exhibit A to the Complaint (attached hereto as Appendix A) (the
                       "Imprints");

                b)     Directly or indirectly infringing any trademark that is owned or
                       exclusively controlled by any of the Plaintiffs, including the trademarks
                       identified on Exhibit C to the Complaint and/or associated with the
                       Imprints on Appendix A ("Plaintiffs' Marks");

                c)     Directly or indirectly manufacturing, importing, distributing (including
                       returning goods purchased from another), offering for sale, and/or selling
                       counterfeit copies of Plaintiffs' Works and/or Plaintiffs' Marks~ and

                d)     Enabling, facilitating, permitting, assisting, soliciting, encouraging or
                       inducing others to directly or indirectly .infringe, manufacture, import,
                       distribute, offer for sale, and/or sell counterfeit counterfeit copies of
                       Plaintiffs' Works and/or Plaintiffs~ Mark·s.

        3.      Defendant, his officers, agents, servants, employees, and attorneys, and all those

in active concert or pmiicipation vvith any of them who receive actual notice of this Injunction,

must immediately locate all accounts holding or receiving money or other assets owned,

connected to, associated with, held by, or transferred from any of Defendant's Online Storefront

("Defendant's Accounts") and immediately cease transfening, withdrawing, or otherwise

disposing of any money or other as~ets in Defendant's Accounts, cease allowing such money or

other assets in Defendant's Accounts to be transferred, withdrav111, or otherwise disposed of

pending further order of this Court. Defendant's Accounts include but are not limited to: (a)



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Defendant's accounts with Amazon.com or other online marketplace providers ("Online

Marketplaces"); and (b) Defendanfs accounts with banks, financial institutions, or payment

processing companies ("Financial Institutions") that have reGeived money or other assets from

Defendant's Accotmts or otherwise.received sales proceeds from Dt::;fendant's Online

Storefront.However, any funds received into Defendant's Account after entry of this Injunction,

are not subject to this Injunction.

       4.        Defendant, his officers, agents, servants, employees, and attorneys, and all those

in active concert or participation with any of them who receive actual notice of this Injunction,

are enjoined from distributing, transfening, selling, or listing for sale Plaintiffs' Works on any

Online Marketplace, pending Plaintiffs' Inspection (as defined and described herein) (the

«Inspection").

        5.       Defendant, his officers, agents, servants, employees, and attorneys, and all those

.in active concert or participation with any of them with actual notice of this Injunction, must

immediately locate all physical copies of Plaintiffs' Works that are within any Defendanf"s

possession, custody, or control, or held in inventory on behalf of Defendant, and immediately

cease selling, distributing, transferring, or disposing of such copies of Plaintiffs' Works pending

Plaintiffs' Inspection. Any copies of Plaintiffs' Works determined by Plaintiffs during the

Inspection to be not counterfeit 'Shall, upon receipt of Plaintiffs' Determination Notice (as

defined below), be exempt from this Injunction.

        6.       To facilitate the prompt inspection of Defendant's inventory of Plaintiffs' Works,

Defendant shall provide to Plaintiffs (to the extent not already produced) a list of all physical

copies of Plaintiffs' Works (the "Books") held by Defendant ("Non-Amazon Inventory") or by

Amazon on Defendant's behalf ("Amazon Inventory"). Plaintiffs shall identify to Defendant




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and, as appropriate, Amazon, all of the Books that Plai11tiffs intend to inspect (the "Inspection

Notice").    Within seven (7) days of receiving the Inspection Notice, Defendant shall cause

Plaintiffs' Books identified pn the Inspection Notice, whether such Books are Non-Amazon

Inventory or Amazon Inventory, to be shipped to Plaintiffs' counsel for purposes of conducting

the Inspection. If a Defendant's Amazon account is not reinstated, such that the Defendant

cannot ca1Ty out the terms of this paragraph as to Amazon Inventory, Amazon shall ship to

Plaintiffs' counsel, at Plaintiffs' expense, the relevant Books identified on the Inspection Notice

within 7 days of receiving the Inspection Notice.

       7.       Plaintiffs shall conduct the Inspection promptly and provide their findings to

Defendant (the "Determination Notice"). Plaintiffs shall return to Defendant any Books on the

Determination Notice that are not identified as counterfeit ("Unrestrained Textbooks").

Plaintiffs' Books that 1) ate identified on the Dete1mination Notice as Unrestrained Textbooks,

or 2) are not identified on the Inspection Notice, shall be exempt from paragraph 4 of this

Injunction. However, Plaintiffs' decision not to identify one or more of Plaintiffs' Works on the

Inspection Notice does not constitute a waiver or limitation of any rights, claims, or remedies

that may be applicable, or any kind of admission or finding of fact or law that any such

corresponding Books are authentic.

       8.       Plaintiffs' counsel shall hold and preserve as evidence any Books determined by

Plaintiffs to be counte1feit ("Counterfeit Textbooks") as identified in the Determination Notice.

If requested by a Defendant, Plaintiffs shall make the Counterfeit Textbooks available to such

Defendant for inspection at a time mutually convenient to Plaintiffs and Defendant.

       9.       Subject to and consistent with the terms of this Injunction, Plaintiffs do not object

to Amazon or other online marketplace reinstating Defendant's Online Storefront and permitting




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                          '


Defendant to conduct sales on such marketplace.

       10.    The parties further agree to extend the deadline for Defendants to move, answer,

or othen~ise respond to the Complaint until October 1, 2018.

       11.    This Injunction shall remain in effect until further order of the Court.




SO ORDERED thisl~~day of          9:,p.t~ .2018.


                                                                  United States District Judge




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                                                  Date:   9 /\ I / IB
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                                       APPENDIX A:PLAINTIFFS' IMPRINTS

                BEDFORD, FREEMAN & WORTH
                                                                  CENGAGE LEARNING, INC.
                  PUBLISHING GROUP, LLC
            Bedford,, Freeman & Worth High School        Brooks Cole
                Publishers               ·               Cengage
            Bedford/St. Martin's                         Cengage Learhing
            BFW                                          Course Technology
            BFW High School Publishers                   Delm~·
            Freeman                                      Gale
            Macmillan Education                          Heinle
            Macmillan Learning                           Milady
            W .H. Freeman & Company                      National Geographic Learning
            Worth                                        South-Western Educational Publishing
            Worth Publishers                             Wadsworth

                                                    ELSEVIER INC.
           Academic Cell                                 Made Simple Books
           Academic Press                                Medicine Publishing
           Amirsys                                       Morgan Kaufmann Publishers
           B11tterworth Heinemann                        Mosby
           Churchill Livingstone                         Newnes
           Digital Press                                 North Holland
            Elsevier                                     Saunders
            Gulf Professional Publishing                 Urban & Fischer
            Hanley_§l:Belfus                             WiJliam Andre.\Yl'.-.--------------1------
-----+--K_n_o-ve·I                                       Woodhead Publishing

             MCGRAW-HILL GLOBAL EDUCATION
                                                                  PEARSON EDUCATION, INC.
                     HOLDINGS,LLC
            Irwin                                        Addison Wesley
            Lange                                        Adobe Press
            McGraw-Hill                                  Allyn & Bacon
            McGraw-Hill Education                        Benjamin Cummings
            McGraw-Hill Higher Education                 Brady
            McGraw-Hill Professional                     Cisco Press
            McGraw-Hill Ryerson                          Fi.11ancial Times Press/FT Press
            McGraw-Hill/Appleton & Lange                 IBM Press
            McGraw-I-Ii II/Contemporary                  Longman
            McGraw-Hill/Dushkin                          New Riders Press
            McGraw-Hill/Irwin                            Peachpit Press
            NTC/Conternporary                            Pearson
            Osborne                                      Pearson Education
            Schaun1·s                                    Prentice Hall
                                                         Que Publishing
                                                         Sams Publishing




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